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                             UNITED STA TES DISTR ICT COU RT
                             SOUTHERN DISTRICT OF FLORIDA
                           CA SE N O. I9-ZOI4I-CR -IU N G/BECER R A

   U NITED STA TES O F A M ERICA

                 V.

   R UBEN DAR IO R OJA S BASCO PE,
   W CTOR RO JAS,and
   JUAN R OJA S,

                 D efendants.
                                                     /


                                      PRO TECTIVE O RDER
                                                                   2

          TH IS CAU SE cam ebeforethe Courtupon theG overnm ent'sM otion forProtectiye Order.

      WHEREAS theabove-referenced DefendantVictorRojashassoughtfrom theGovernment
   accessto certain recordings,electronic com m unicationi,and data and otherm aterialsthatdisclose

   the identities ofindividualswho acted atthe direction of1aw enforcem entin connection w ith the

   underlyinginvestigation and othersensitiveinfofmation (the(TrotectedMaterials''),whichmay
   bediscoverablepursuanttoRule16oftheFederalRulesofCriminalProc-edurerclkule 16')and
   the Standing D iscovery Order;

      W HEREA S the Govem m ent desires to protect the identities of the participants in the

   comm unicationsreflected'in theProtected M aterialsand othersensitive inform ation;

      W HEREA S the Protected M aterials,if dissem inated to third parties or outside the U nited

   States, could, am ong other things, im plicate the safety of others and im pede ongoing

   investigations;and

       W H EREA S,the Governm enthasdem onstrated good cause;
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       Having considered the Governm ent's M otion, and being otherw ise fully advised in this

   prem ises,itishereby O R DER ED and AD JU DG ED thattheG overnm ent'sM otion isGR AN TED .

   PursuanttoFed.R.Crim.P.16(d),itisfurtherorderedthat:
                  The Protected M aterialsshallbe used by the Defendant,hiscounsel,and his

   counsel'sagentsonly forpurposes ofpreparing the case,defending the chargesattrial,or

   advocatingfortheDeikndantatsentencingoronappeal.TotheextenttheProtectedM aterials
   are shown to additionalpersonsconsistentw ith the term ssetforth below ,those additional
                                                          I
   personsm ay only use the Protected M aterials in connection w ith thiscrim inalaction.
                                                 .




          2.      TheGovernmentwillmarkallitemssubjecttothisprotectiveorderinamanner
   indicating theirprotected statusasProtected M aterials.

          3.      The Protected M aterialsand the inform ation and identities contained ordisclosed

   therein:

                   Shallbe used by the D efendantand hiscounselonly forpurposesofthisaction;

          (b)      Shallnotbetransmitted,bisseminated,orpossessedoutsidetheterritorialUnited
   States;

          (c)-Shal1notbedisclosedinanyform bytheDefendantortheircounselexceptasset
   fol'thinparagraph3(d)below;
          (d)      MaybedisclosedonlybytheDefendant'scounselandonlytothefollowing
   persons(hereinafter(r esignatedPersons''):
               (i) investigative,secretarial,clericaltparalegalandstudentpersonnelemployçdfull-
   tim e orpart-tim e by the D efendant's attorney;

              (ii) independentexpert,
                                    witnesses,investigators.
                                                           oradvisorsretainedbytheDefendant
   in connection w ith thisaction;or



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            (iii) uponamotionbythedefendantpursuanttoparagraphs.below,toshow (butnot
   providecopieso9 ProtectedMaterialstosuchotherpersonsashereaftermaybeauthorizedby
                              .
                                                                           '



   the Coul't;and
                       '

          (e)ShallbereturnetltotheGovernmentfollowingtheconclusionofthiscase.
          4.        The D efendantand theircounselshallprovide @ copy ofthisprotective ordçrto

   DesignatedPersonstowhom thePrétectedM aterialsaredisclosedpursuanttoparagraph3(d)(i),
   (ii)and(iii).DesignatedPersonsshallbesubjecttothetermsofthisprotectiveorder.
          5.        D efense counselm ay,on noticeto the Governm ent,seek authorization ofthe
                                         '                    .
                                    .


   Coul'
       ttoshow (butnotprovidecopieso9 certàinspecifieddiscoverymaterialstopersop,whose
   accessto discovery m aterials isotherwise prohibited by thepreceding paragraphs,ifitis

   determ ined by the Courtthatsuch access isnecessary forthe pum ose ofpreparing thedefense of

   the case.

                    The provisions ofthis ordershallnotbè construed aspreventing the disclosure of

   any inform ation in any m otion,hearing,trial,sentencing,orappealproceeding held in thisaction

   ortoanyjudgeormagistrateofthisCourtforpurposesofthisaction.
                    Counselforthegovernmentand fortheD efendantshallprom ptly reportàny know n
                                                .




   violationsofthe Court'sorderto the Court.

          D ON E and OR DER ED in M iam i,Florida,on                  i ,z()19       .




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                                                        UNITED STATESDISTRI
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          Cc:ScottSakin,Esq.



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